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                    Exhibit 040
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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CHARLES CURRY, d/b/a GET DIESEL                )
NUTRITION,                                     )
                                               )
              Plaintiff,                       )
                                               )     Case No. 1:17-cv-02283
      v.                                       )
                                               )     Judge Matthew F. Kennelly
REVOLUTION LABORATORIES, LLC,                  )
REV LABS MANAGEMENT, INC.,                     )
JOSHUA NUSSBAUM, and BARRY                     )
NUSSBAUM,                                      )
                                               )
              Defendants.                      )


                                Declaration of Kim Hoffman
  1. I Kim Hoffman, under penalty of perjury and pursuant to 28 U.S. Code § 1746, make the

     following declaration in the above captioned matter.

  2. I am a Director of Operations at Elijah, which specializes in digital forensics and

     eDiscovery services. A true and correct copy of my CV is attached hereto.

  3. I am over the age of 18, have personal knowledge of the facts stated herein, and if called

     upon, could and would testify competently to them.

  4. I was retained by Defendants to advise and monitor the collection of QuickBooks data

     from Revolution Laboratories. To date I have spent at least 25 hours executing that task,

     the vast bulk of which has involved monitoring Plaintiff’s activities in person at

     Revolution Labs and coordinating schedules to continue the collection process.

  5. On March 7, 2023, I participated in a remote session initiated by Plaintiff’s advisor.

  6. Plaintiff’s advisor emailed a link to a TEAMS chat to initiate a session where she, I, and

     Revolution’s representative, Trent Turner, could all join. I joined the session from my

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     own device. Mr. Turner joined from the computer that had been being used by the parties

     to do all of the work to that point.

  7. Plaintiff’s advisor requested a screen share with Mr. Turner. Mr. Turner complied and

     was able to share his screen so she could see the progress of the backup and that it was

     still processing.

  8. Plaintiff’s advisor asked Mr. Turner to allow her control of his screen so she could

     initiate a chat from the QuickBooks file but Mr. Turner’s access levels in the advisor’s

     initiated TEAMS session would not allow him to give over controls of his computer to

     the advisor. The advisor tried to troubleshoot settings in TEAMS so that she could be

     given control, but she was unable to figure out the problem.

  9. Plaintiff’s advisor then requested that Mr. Turner turn over the Revolution administrator

     username and password to the actual Rev Labs QuickBooks account (which would also

     have granted the advisor access to any other account under that same username and

     password). The advisor was proposing that this way she and I could complete the task on

     our own without further having to involve Mr. Turner. We declined to give her that

     information.

  10. I then informed Plaintiff’s advisor that we would be happy to provide the company ID so

     she could initiate a chat outside of being in the actual QuickBooks file since her TEAMS

     invitation was not working. In my experience, Intuit typically only asks for the Company

     ID, email address and phone number on the account when initiating a chat session.

  11. Plaintiff’s expert refused our offer. She insisted that she had to be logged into the actual

     account in order to inquire about the account. Again, from my experience working with

     Intuit, I do not believe that to be true. Plaintiff’s expert then abandoned the entire pursuit.



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   12. Throughout the entirety of my engagement in this manner Defendants have been helpful

       and open. They have consistently made accommodations to Plaintiff’s advisor and have

       also consistently provided full and complete access to Defendants’ QuickBooks database.

   13. The foregoing is true and correct to the best of my knowledge and belief.

Date: 03/15/2023




Signature:                                                                _
              Kim Hoffman




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Director of Operations            kim.hoffman@elijaht.com                     619-717-2366
ELIJAH LLC




                                 Kim Hoffman
Background

Kim Hoffman is the Director of Operations with Elijah LLC, a premier legal technology
company specializing in digital forensics and eDiscovery services. She is responsible for
maintaining all aspects of business operations as well as consulting on accounting platforms
and accounting software best practices to clientele.

Responsibilities

Kim has been employed with ELIJAH since 2004 and has served as the Director of Operations
since 2010. Responsibilities include:

    Managing all aspects of business operations
    Consulting with clientele regarding preservation of forensic data with specific focus on
     accounting software and proprietary accounting systems
    Accounting software password cracking and recovery
    Forensic imaging of local network shares
    Forensic imaging of smart phones and smart devices
    Forensic imaging of hard drives
    Forensic imaging of social media accounts

Kim is well versed on the intricate balance between business operations and forensic collections,
and recognizes the differences between legal and accounting best practices. She lends a unique
perspective on balancing both maintaining digital forensic integrity in specialized environments
meant to be self contained, while still retrieving the information required for accounting
transparency.

Employment History

Prior to joining ELIJAH Kim served as the Office Manager for a litigation support company
based out of Orlando Florida.

Education

Kim attended University of Colorado Boulder where she earned a dual degree in Spanish
and Business, with an emphasis in biological sciences. She has taken numerous training
courses throughout her career, with special emphasis on accounting best practices and
digital collections.
